Case 2:19-cr-00068-MCA Document 42 Filed 06/11/19 Page 1 of 2 PageID: 890




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                 Hon. Madeline Cox Arleo

       v.                                Crim. No. 19-68

RICHARD ADEBAYO                          ORDER



      This matter having come before the Court on various pre-trial motions filed

by the United States, through Craig Carpenito, United States Attorney for the

District of New Jersey (Jamel K. Semper and Catherine R. Murphy, Assistant

United States Attorneys, appearing), and defendant Richard Adebayo (pro Se;

Christopher Adams, Esq., appearing as standby counsel); the Court having

considered the papers submitted, oral arguments of the parties on June 5, 2019,

and sworn testimony by Homeland Security Investigations Special Agent Ricky

Miller and the Defendant on June 5, 2019, and for the reasons stated on the

record on June 5, 2019:

      IT IS, on this       day of June, 2019:

      ORDERED that the Defendant’s Motion to Dismiss (ECF No. 33) is hereby

denied;

      IT IS FURTHER ORDERED that the Defendant’s Motion for a Franks

Hearing (ECF No. 25) is hereby denied;

      IT IS FURTHER ORDERED that the Defendant’s Omnibus Motion (ECF

No. 7) is hereby denied;
Case 2:19-cr-00068-MCA Document 42 Filed 06/11/19 Page 2 of 2 PageID: 891




      IT IS FURTHER ORDERED that that Defendant’s Motion to Dismiss and

Release of Grand Jury’s Transcript (ECF No. 35) is hereby denied;

      IT IS FURTHER ORDERED that the Defendant’s Motion to Suppress Arrest

and Evidence (ECF No. 34) is hereby denied;

      IT IS FURTHER ORDERED that the Government’s Omnibus Motion (ECF

No. 8) is hereby granted;

      And for the reasons set forth on the record on June 5, 2019, this Court

further DENIES as MOOT the Defendant’s Motion to Preclude In-Court

Identification.




                                    HONORAbLE MADELINE COX ARLEO
                                    UNITED STATES DISTRICT JUDGE




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